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                           UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE


METHODIST HEALTHCARE,
MEMPHIS HOSPITALS D/B/A LE
BONHEUR CHILDREN’S HOSPITAL,

                  Plaintiff,                          CASE NO.: 2:16-cv-02718

v.

SUNFROG, LLC,

                  Defendant.


               STIPULATED ORDER OF DISMISSAL WITH PREJUDICE

       Methodist Healthcare, Memphis Hospitals D/B/A LE, and Bonheur Children’s Hospital

(collectively “Plaintiffs”), and SunFrog, LLC (“Defendant”), by and through their respective

counsel and pursuant to a settlement agreement (“Settlement Agreement”) reached among the

parties, hereby agree and stipulate as follows:

       1. All claims by and between Plaintiffs and Defendant in the above-captioned case are

           hereby dismissed with prejudice;

       2. The Court shall retain jurisdiction to enforce the terms of the Settlement Agreement.

           See Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 381 (1994) (permitting

           federal courts to maintain jurisdiction over settlement agreements so long as

           jurisdiction is expressly retained in order of dismissal);

       3. All parties will bear their own attorneys’ fees and costs incurred to date.


IT IS HEREBY STIPULATED:

/DLJ/_____________________                            /JAD/_________________
David L. Johnson                                      John Di Giacomo
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Entered: ____/____ /____


___________________________
Hon. John T. Fowlkes, Jr
United States District Court Judge


Prepared and submitted by:

                                                /s/ John Di Giacomo______
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